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                      11                             UNITED STATES BANKRUPTCY COURT

                      12                                       DISTRICT OF NEVADA

                      13      In re:
                                                                             Case No.: 21-14486-abl
                      14      INFINITY CAPITAL MANAGEMENT, INC.              Chapter 7

                      15                       Debtor.                       Adversary Case No. 21-01167-abl
                      16
                                                                             CERTIFICATE OF SERVICE
                              HASELECT-MEDICAL     RECEIVABLES
                      17      LITIGATION     FINANCE      FUND
                      18      INTERNATIONAL SP,

                      19                       Plaintiff,
                                                                             Date: N/A
                              v.                                             Time: N/A
                      20

                      21      TECUMSEH-INFINITY                  MEDICAL
                              RECEIVABLES FUND, LP,
                      22
                                               Defendant.
                      23

                      24
                              TECUMSEH-INFINITY                  MEDICAL
                      25      RECEIVABLES FUND, LP,

                      26                       Counter-Claimant,

                      27      v.
                      28
  Garman Turner Gordon
     Attorneys at Law
7251 Amigo Street, Ste. 210
   Las Vegas, NV 89119
      725-777-3000
                              Case 21-01167-abl         Doc 144      Entered 10/25/22 16:30:15         Page 2 of 4


                        1     HASELECT-MEDICAL     RECEIVABLES
                              LITIGATION     FINANCE      FUND
                        2     INTERNATIONAL SP,
                        3                         Counter-Defendant.
                        4

                        5     HASELECT-MEDICAL     RECEIVABLES
                              LITIGATION     FINANCE      FUND
                        6     INTERNATIONAL SP,
                        7                         Counter-Claimant
                        8     v.
                        9
                              TECUMSEH-INFINITY                      MEDICAL
                      10      RECEIVABLES FUND, LP,

                      11                          Counter-Defendant.

                      12                                        CERTIFICATE OF SERVICE
                      13               1.     Electronic Service
                      14               On October 25, 2022, I served the following document(s):
                      15                     a.       NOTICE OF ENTRY OF ORDER GRANTING                       Dkt. No. 143
                                                      DEFENDANT’S EX PARTE MOTION TO EXCEED
                      16                              PAGE LIMIT FOR REPLY TO PLAINTIFF HASELECT-
                      17                              MEDICAL RECEIVABLES LITIGATION FINANCE
                                                      FUND INTERNATIONAL SP’S OPPOSITION TO
                      18                              TECUMSEH INFINITY MEDICAL RECEIVABLE
                                                      FUND, LP’S MOTION FOR PARTIAL SUMMARY
                      19                              JUDGMENT AS TO CERTAIN DISPUTED
                                                      RECEIVABLES
                      20               I served the above-named document(s) by the following means to the persons as listed
                      21      below:                          ECF System: See attached ECF Confirmation Sheets.
                      22               2.     Mail Service
                      23                                      United States Mail, postage fully prepaid: N/A
                      24               I declare under penalty of perjury that the foregoing is true and correct.
                      25               DATED this 25th day of October, 2022.
                      26

                      27                                                             /s/ Theresa D. Luciano
                                                                                     Theresa D, Luciano, an employee of
                      28                                                             Garman Turner Gordon LLP
  Garman Turner Gordon
     Attorneys at Law                                                            2
7251 Amigo Street, Ste. 210
   Las Vegas, NV 89119
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                       Case 21-01167-abl                Doc 144        Entered 10/25/22 16:30:15        Page 3 of 4
File a Notice:
21-01167-abl HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FU v. TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP
Type: ap                  Office: 2 (Las Vegas)    Judge: abl
Lead Case: 2-21-bk-14486

                                                                  U.S. Bankruptcy Court

                                                                    District of Nevada

Notice of Electronic Filing

The following transaction was received from JARED M. SECHRIST entered on 10/25/2022 at 4:24 PM PDT and filed on 10/25/2022
                     HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FU v. TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND,
Case Name:
                     LP
Case Number:         21-01167-abl
Document
                     143
Number:

Docket Text:
Notice NOTICE OF ENTRY OF ORDER GRANTING DEFENDANTS EX PARTE MOTION TO EXCEED PAGE LIMIT FOR REPLY TO PLAINTIFF
HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SPS OPPOSITION TO TECUMSEH INFINITY MEDICAL
RECEIVABLE FUND, LPS MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO CERTAIN DISPUTED RECEIVABLES Filed by JARED M. SECHRIST
on behalf of TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP (Related document(s)[130] Order on Motion to Exceed Page Limit)
(SECHRIST, JARED)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:[TO FILE] NEO (21-01167) re dkt 0130.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=989277954 [Date=10/25/2022] [FileNumber=34713552-
0] [a77934c98a19d4346161e1b72d861601b265df818aa73288f1c6a971000b2f5422
cb029abae437b01002a1034869bfefb91111777bdf73203416264f1e19720a]]

21-01167-abl Notice will be electronically mailed to:

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                      Case 21-01167-abl                Doc 144   Entered 10/25/22 16:30:15   Page 4 of 4
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21-01167-abl Notice will not be electronically mailed to:
